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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

      Civil Action No. 12-CV-01381-WYD-KMT

      HEATHER CARTER,

                                                                      Plaintiff,

             vs.

      DAVID C. LOUCKS, M.D.;
      RICHARD M. LOTSPEICH, P.A.-C; and
      PEAK ORTHOPEDICS AND SPINE, P.L.L.C.,

                                                                      Defendants.


                                     NOTICE OF APPEAL


             Notice is hereby given that Heather Carter, plaintiff in the above named case,

      hereby appeals to the United States Court of Appeals for the Tenth Circuit from the

      Judgment [Docket No. 156] entered in this action on September 24, 2015, ordering entry

      of judgment in favor of defendant, David C. Loucks, M.D., and dismissing plaintiff’s

      complaint and action.

             Dated this 26th day of October, 2015.

                                                 Respectfully submitted,

                                                 LEVENTHAL & PUGA, P.C.


                                          By:    s/Bruce L. Braley
                                                 James E. Puga, #18960
                                                 Bruce L. Braley, #48612
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                                                  950 S. Cherry Street, Suite 600
                                                  Denver, Colorado 80246
                                                  Telephone: (303) 759-9945
                                                  Facsimile: (303) 759-9692
                                                  Email: jpuga@leventhal-law.com
                                                  Email: bbraley@leventhal-law.com

                                                          -and-

                                                  Jon Thornton
                                                  Pierce and Thornton
                                                  150 Boush Street
                                                  Town Point Center, Suite 801
                                                  Norfolk, VA 23510

                                                  Attorneys for Plaintiff


                                  CERTIFICATE OF SERVICE

              I hereby certify that on the 26th day of October, 2015, I electronically filed the
      foregoing with the Clerk of the Court using the CM/ECF system, which will send
      notification of such filing to the following e-mail address:

      Scott Nixon, Esq.                           snixon@pjckn.com
      Michael S. Drew, Esq.                       mdrew@pjckn.com
      Pryor Johnson Carney Karr Nixon, P.C.
      5619 DTC Parkway, Suite 1200
      Greenwood Village, CO 80111-3061

      Jon Thornton, Esq.                          jon@pierceandthornton.com
      Pierce and Thornton
      150 Boush Street
      Town Point Center, Suite 801
      Norfolk, VA 23510


                                                  s/Tina B. Lyda




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